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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL                        :
PROTECTION BUREAU,                        :
                                          :
                    Plaintiff             :
                                          :
                                          :      3:17-CV-101
             v.                           :      (Judge Mariani)
                                          :
                                          :
NAVIENT CORPORATION, et al.,              :
                                          :
                    Defendants.           :

                           SPECIAL MASTER ORDER #5

      Now, this 5th day of February, 2019, having conferred with counsel during the

regularly scheduled conference call held this date, IT IS HEREBY ORDERED THAT:

      1. On or before March 5, 2019, Defendants shall provide complete sender/recipient
         information for the approximate 1,100 entries on Defendants’ privilege log
         involving email threads.

      2. On or before February 11, 2019, Plaintiff shall provide to Defendants and the
         Special Master a list of the entries on Defendants’ privilege log for which the
         attorney-client privilege has been claimed and which Plaintiff asserts involve a
         communication with a third party. The parties shall be prepared to discuss the
         question of whether additional information should be provided with respect to the
         entries involving communications with third parties during the regularly scheduled
         conference call on February 12, 2019.

      3. On or before February 11, 2019, Defendant shall send out letters to the federal
         agencies implicated in the assertion of the Bank Examination Privilege.

      4. On or before March 5, 2019, Defendant shall identify the specific litigation matter
         implicating the work product doctrine for the 915 entries on Defendant’s privilege
         log that do not contain such specific litigation information.
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5. On or before February 11, 2019, the parties shall confer in good faith to reach an
   agreement on the sample size for the approximate 6,600 entries for which the
   only claim of privilege is the work product doctrine and the method for drawing
   the sample, and shall report to the Special Master the results of their discussions.

6. Defendants’ brief addressing the assertion of attorney client privilege in the
   context of affiliated entities under In re Teleglobe Communications Corporation,
   493 F.3d 345 (3d Cir. 2007), shall be filed no later than February 11, 2019.
   Plaintiff’s response brief shall be filed no later than February 25, 2019.
   Defendants’ reply brief shall be filed no later than March 4, 2019.

7. On or before February 8, 2019, Defendants shall file a letter brief addressing the
   question of production of documents involving “key custodians” as referenced in
   Plaintiff’s letter to the Special Master dated February 4, 2019.

8. The parties shall confer in good faith to resolve issues involving production of call
   records and report in writing to the Special Master on the matter of call records
   no later than February 11, 2019.

9. No later than February 15, 2019, Defendants shall respond to Plaintiff’s February
   4, 2019 letter brief concerning the deliberative process privilege and the Special
   Master’s in camera review of documents claimed to be protected by the
   deliberative process privilege.

10. The parties shall order the transcripts of all telephonic conferences conducted by
    the Special Master and split the cost of the transcripts.

11. The next telephonic conference shall be conducted at 11:00 a.m. on February
    12, 2019. The conference call shall be placed to 570-207-5605.


                                            s/ Thomas I. Vanaskie
                                            THOMAS I. VANASKIE
                                            SPECIAL MASTER
